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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ALLY FINANCIAL, INC.,

                       Plaintiff,

v.                                                  C.A. No. 1:22-cv-00064-MPT

U.S. SPECIALTY INSURANCE COMPANY,

                       Defendant.


     DECLARATION OF BRIAN M. ROSTOCKI IN SUPPORT OF PLAINTIFF ALLY
      FINANCIAL, INC.’S MOTION FOR JUDGMENT ON THE PLEADINGS AS TO
                    COUNT I OF THE AMENDED COMPLAINT

       Brian M. Rostocki, being duly sworn, hereby deposes and says:

       1.       I am a partner with the law firm of Reed Smith LLP, counsel for Plaintiff Ally

Financial, Inc. (“Plaintiff”) in this matter. I submit this Declaration in support of Plaintiff Ally

Financial, Inc.’s Motion for Judgment on the Pleadings as to Count I of the Amended Complaint.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of the Relevant Excerpts of

Ally Financial, Inc. Annual Report (Form 10-K) (Feb. 25, 2022).

       3.       Attached hereto as Exhibit 2 is a true and correct copy of the Petition on

Deficiency dated March 30, 2016 in Ally Financial Inc. v. Alberta Haskins and David Duncan,

Case No. 16JE-AC01713-01 (Mo. Cir. Ct., Jefferson Cty.).

       4.       Attached hereto as Exhibit 3 is a true and correct copy of the Order dated May 9,

2018 in Ally Financial Inc. v. Alberta Haskins and David Duncan, Case No. 16JE-AC01713-01,

(Mo. Cir. Ct., Jefferson Cty.).

       5.       Attached hereto as Exhibit 4 is a true and correct copy of Redacted Confidential

Settlement Administration Data (redacted to protect confidential personal identifying

information).
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       6.      Attached hereto as Exhibit 5 is a true and correct copy of U.S. Specialty’s Letter

dated Feb. 28, 2021.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of U.S. Specialty’s Letter

dated Oct. 25, 2021.

       8.      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Dated: September 30, 2022                                REED SMITH LLP

                                                         /s/ Brian M. Rostocki
                                                         Brian M. Rostocki (No. 4599)
                                                         Anne M. Steadman (No. 6221)
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